  

ease 1:13-@\/-01654'-'353 detriment 3 Filed 09/12/13

 

 

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HARRlSBURG, PA
Federal District Court
, SEP 12 2018 f l\/liddie District
PER D.§/r j _ Commonwealth of Pennsylvania
EEPuTY cLERi< '
Joshua A l\/lonighan . )
)
Vs ) Case No. 1:18-01654
)
Tom Woif, )

l\/lotion for Summary Judgment 12th, 2018
No t. As of September eleventh no appearance form has been shovv by the Governors
Office. The Governors Office and the Department of States office has not placed an 1
Attorney on Record to the Grievance. indigence is unusual for the FederalCourt asa '
result the defendant, the Petitioner must move for Summary Judgement to prevent
delay to the`commonwealth courts ability to decide local matters
No 2. Norma| response`period is 10 days for election matters in the Commonvvealth.
Generally in the Commonwealth of Pennsylvania elections matters are of top priority
and of very serious lnature, Qualified Elector issues of this nature are expedited Quickly
and not typically ignored by Commonwealth Administrators.
We have now seen a full twenty (21) days of deflection pass With out an appearance \.
or a response or answer from the Governors office or department ot state, anytime With
in 20 days for the filin§ Wou|d be considered timely
l\lo. 3 The 45 days extension vvill take us in to near the end o'i the l\/lonth or ©ctober.'
l\lo_.. 4 Postponement or the General Election in the Comrnonvvealth may be required to
remedy the Grievance ll the Glovernor tells to respond or rails to timely respond to the

court Attorney General and Cornrnonwealth court have not provided an attorney sol

record form.

 

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Federal District Court
l\/lidclle District
Commonwealth of Pennsylvania

Joshua A l\/lonighan )

Vs ' ) Case No. 1:18-01654
)

Tom Wolf )

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Certificate of Service 9/12/2018

_`| the undersigned hereby certify | delivered the following documents v{a Personal
service §nd~us'm'atl. .

1) l\/lotion for Summary Judgment
2) Affidavit of no appearance

3) A11idavi1 of no Answer

to the following offices below.

Commonwealth of Pennsylvania "T\M %‘\Awpo

Tom Wolf Governor Office

508 l\/lain Capi'tol Builoling

Harrisburg, PA17120

1717 787 2500

Commonwealth ofPennsylvania » . 7 `
Robert Torres/ Jonathan l\/larks Department of State/Ian Everheart

302 worth office sundan wm 1111 wapa-owes l"‘» 05
401 North Street lularrisiourg 311 17120 ` '

Commonwealth 01 Pennsylvania §)`,,,Am/@lm` ”i"~» (e¢)~ve" \~ o<:~j><
Josh Shapiro Attorney 01@ neral

16 151er Strawoerry SQuaro 17120

1 717~787~-3391

Comrnom/vedm Coor?to onsyl\/ama L€H v»/ §Lc<..>@'¥w/‘S~‘
l\/liohael F. Krimmel Chief Clerk \ N r`v,»m h\__ O_J:
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1~1arrzsourc 131117120

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Federal District Court
Nliddle District
Commonwealth of- Pennsylvania

Joshua A l\/Ionighan )
Vs g ) Case No. 1:18-01654
)

Tom Wolf
l2 012
Certificate 01 Service. 9-12-2018 _

Peter J Welsh Acting Clerk of Courts
' Ronald lReagan Federal Building»
US Court House

228 Walnut Street ’

Harrisburg PA17101

US Clerk personal Service

l
Joshua A l\/lonighan Taxpayer ` ~ ; ' 1 l
6363 Basehore Rd
l\/lechanicsburg PA17050
1717319 8014 ,
jmonighan@gmail.com

//%1

vSworx;// and/ Subscribed This _l?’ day 01
S€P F¢»~_b§£ 2018 in the Commonweaii'h of Pennsylva,nia.€oumy§ 01"

Cumbermnd _ ~

COMMONWEALTH OF PENNSYLVANlA
NOTARlAL SEAL
Jarod A. Buck, Notary Public

Upper Allen Twp.. Cumberland County '
_ My Commission Expires Oct 24, 2020

  
     

 

